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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Phillip Christianson
                                Plaintiff,
v.                                                 Case No.: 1:14−cv−07363
                                                   Honorable Harry D. Leinenweber
Karen Yarbrough, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 16, 2015:


        MINUTE entry before the Honorable Harry D. Leinenweber:Motion hearing held
on 7/16/2015. For the reasons stated in open court, defendants motion to dismiss [39]
granted in part and denied in part. Defendants to answer Counts 1, 3 and 4 by 7/30/2015.
Status hearing set for 8/13/2015 at 09:00 AM.Mailed notice(wp, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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